United States Bankruptcy Court
District of North Dakota

Inre _ Vanity Shop of Grand Forks, Inc. Case No.
: Debtor(s) Chapter “Ti

 

 

STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

I, James Bennett, declare under penalty of perjury that I am the Chairman of the Board of Directors of
Vanity Shop of Grand Forks, Inc., and that the following is a true and correct copy of the written action adopted by
the Board of Directors of said corporation at a special meeting duly called and held on the 22nd day of February,
2017.

" Be It Therefore Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation,
is authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 41
voluntary bankruptcy case on behalf of the corporation; and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, and
such other representatives of the Corporation that he deems appropriate, is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation and such other representatives of the Corporation as he
deems appropriate, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case, and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation is
authorized and directed to employ Jon R. Brakke 03584 and Caren Stanley 06100, attorneys and the Vogel Law Firm to

represent the corporation in such bankruptcy case."
Date February 22, 2017 Signed /s/ aa, a

James Bennett ~~

 

 

 
Written Action of Board of Directors

of
Vanity Shop of Grand Forks, Inc.

Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

Be It Therefore Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 41
voluntary bankruptcy case on behalf of the corporation; and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, and
such other representatives of the Corporation that he deems appropriate, is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation and such other representatives of the Corporation as he
deems appropriate, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case, and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation is
authorized and directed to employ Jon R. Brakke 03554 and Caren Stanley 06700, attorneys and the Vogel Law Firm to
represent the corporation in such bankruptcy case.

Date February 22, 2017 Signed as

 

 

 

 

Names Bennett Director
Date February 22, 2017 Signed

Colette Anderson-Bottrell, Director
Date February 22, 2017 Signed

 

 

James Kelly, Director

Date February 22, 2017 Signed a

Scott Roller, Director

Date February 22, 2017 Signed

 

Stephen Anderson, Director

Date February 22, 2017

28158181

 
Written Action of Board of Directors

of
Vanity Shop of Grand Forks, inc.

Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

Be It Therefore Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankrupicy case on behalf of the corporation; and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, and

such other representatives of the Corporation that he deems appropriate, is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation and such other representatives of the Corporation as he
deems appropriate, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary

documents on behalf of the corporation in connection with such bankruptcy case, and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation is
authorized and directed to employ Jon R. Brakke 03554 and Caren Stanley 06100, attorneys and the Vogel Law Firm to

represent the corporation in such bankruptcy case.

Date February 22, 2017 Signed

 

James Bennett, Director

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Date February 22, 2017 Signed aliy 4 Mind ator lemma! /

Colette Anderson-Bottrell, Director

 

 

 

 

 

 

 

Date February 22, 2017 Signed
James Kelly, Director
Date February 22, 2017 Signed
Scott Roller, Director
Date February 22, 2017 Signed
Stephen Anderson, Director
Date February 22, 2017 Signed

 

 

Marnie Kimbrough, Director

2815818.1
Written Action of Board of Directors

of
Vanity Shop of Grand Forks, Inc.

Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

Be It Therefore Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation, and
such other representatives of the Corporation that he deems appropriate, is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation and such other representatives of the Corporation as he
deems appropriate, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case, and

Be It Further Resolved, that James Bennett, Chairman of the Board of Directors of this Corporation is
authorized and directed to employ Jon R. Brakke 03554 and Caren Stanley 06100, attorneys and the Vogel Law Firm to

represent the corporation in such bankruptcy case.

Date February 22, 2017 Signed

 

James Bennett, Director

Date February 22, 2017 Signed

 

 

Colette Anderson-Bottrell, Director

Date February 22,2017 Signed et. ko fle-

James Kélly, Dirgstor

Date February 22, 2017 Signed

 

Scott Roller, Director

February 22, 2017 Signed Se Wa

Date
Stephen Arierégn, Director

 

Date February 22, 2017 Signed

 

Marnie Kimbrough, Director

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